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Your Honor, Judge Arguello,

Joel came into my life on July 9, 1980 after his mom was bedridden for 6 months and taking 100mg Throazine suppositories for morning
sickness. Joel was premature and had to be kept in the hospital for a week or so in incubation. Joel had surgery when he was 3 weeks
old for a hydroseal hernia that kept me on pins and needles for a few days. He’s always been my number one concern.

Joel was a beautiful happy and smart baby. He was always happy, inquisitive, and wanted to please anybody he was around.

When Joel was a year old his mother decided she wanted to be with my best friend and after 5 years of marriage we divorced, I was
awarded full custody, and I accepted that I would be a single dad raising my son for the rest of my life. I concentrated on my work at
KTVX TV in Salt Lake City.

At the TV station Christmas party in Dec 1981 I met Lynne Edwards and we hit it off immediately. We have been together ever since
that night, with her raising Joel out of the goodness of her heart. One of the highlights of her life, she’s told me, was the day Joel asked
if he could call her mom. We have been there for him as a happy couple for his complete memory.

In august of 1982 we picked up stakes and moved to the Denver where I had taken a position with KMGH Channel 7, Lynne started
working 1 week later at KOA (KCNC), Channel 4. I spent 10 years with Ch 7 until I started my own company working in the remote
broadcast industry. Lynne was with KCNC for 20 years ending up as the General Sales Manager. RBI was around for 25 years, until
2015, and Joel was very big part in our success. He started pulling cables when he was 10 and by the time he was in high school he
was in charge of complete audio portions of broadcast productions.

In 1988 Joel was hanging out by his school with some friends when he fell over 20 feet off a bridge into a stream bed and had flight
for life take him to St. Anthony trauma unit where he had his femur set and was placed in “Bucks” traction for 6 weeks. He then was
placed in a body cast for another 6 weeks. During this time he was home schooled and his grandmother, whom he adored, came to
live at our house for his daily care. He really excelled during this time in both attitude and ability to get through anything. He made us
very proud.

When Joel was a pre-teen while biking he came across a motorcycle wreak and provided the victim with compressions and comfort
until the ambulance arrived, for his actions and keeping calm he received a hero merit award from West Metro Fire Department. Most
school years Joel was a member of student council and was very active in school activities and sports.

While going to school Joel and I were very active in the Boy Scouts of America where we would participate weekly in meeting and
yearly in high adventure camps. Joel has completed, Philmont, Boundary Waters in Minnesota and Camp Cody in Wyoming all the
while by leading and more importantly learning how to be a follower. Joel attained his Eagle badge after providing a “ton” of food for
Denver Dumb Friends. After completing HS Joel enrolled at University of Northern Colorado and joined the Army Reserves. After 9/11
Joel was called to active duty that ended his college career. He spent 4 years as a MP and was honorably discharged. He met his wife,
Val, at college and has had a long loving relationship that has produced another wonderful child, Cooper. Joel has always spent as
much time as possible with Cooper and helping him grow into a good person by being a good parent. Cooper loves his father very
much and wants to be with him as much as he can.

Joel has been the pride of our lives and has been an exceptional person. We have always been very proud as he has worked on some
of the largest broadcast shows at the national network level, including Super Bowls, BCS National football championships, US Open
and Masters golf, CNN Heroes, and has always been invited back. This is a highly competitive and demanding world to work in and
he’s always been at the top of his game, and this is one of the reasons why we are so disappointed in his actions.

His mom and I are devastated and embarrassed knowing he’s done something so despicable and hurtful. Although we are
tremendously disappointed we are dedicated to getting him help and helping him to never do anything like this again. We love him
and know that deep down he’s a very good person with humility, empathy, and a love of life. He’s a wonderful loving father and
husband and a very hard worker that did something really stupid. He’s embarrassed, scared, and knows that he’s done something so
wrong. I know he’ll never do anything like this again and he’s working hard making amends. Attending S-Anon meetings for family
members has helped in dealing with our family situation.

Sincerely

Steven Thomas
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Your Honor,

Thank you for allowing me the opportunity to share with you my experiences, thoughts and hopes for
my son, Joel Thomas.

I met Joel when I was 19, he was 14 months. Joel’s father, Steven, and I worked at the same TV station
in Salt Lake City. Steve worked in News and Production; I was a secretary in the Sales department.
Steve had full custody of Joel. When we started dating, Steve was very clear…he and Joel were a
package deal - not open for negotiation. Although I never expected Joel’s bio-Mom to cease any
contact with Joel after his 3rd birthday, that’s what happened and in a relatively short time we became
– in BOTH of our hearts and minds – mother and son.

That was over 35 years ago, our family has been very fortunate, and we are very grateful for, the many
good times and great experiences we’ve had together. Our difficult times have been few and we’ve
managed to stay together and support each other through those hardships, working towards a positive
future for our family.

I can say that Joel’s current situation, the crime and behaviors he has admitted to, is the most difficult
and heart breaking time in our family’s history. His father and I have been agonizing over the cause of
his reckless behavior, what could possibly be worth putting your wife, child, career, and self, in such
jeopardy?

I looked to his past for a possible cause or explanation for this behavior – was there something we could
have done that would have prevented his current situation?

Joel was a happy child, he was popular in school, active in Boy Scouts, became an Eagle Scout when he
was 17 and was a pretty typical teenager, no drugs, drinking , had pretty good grades. When he
graduated from high school, he enlisted in Army Reserves (his career goal was to go into law
enforcement, ironically – the FBI.) The Army provided him the advanced MP training he needed to
pursue a career in law enforcement, serve his country, and attend the University of Northern Colorado.

Seemed like a good plan. Then 9/11 happened.

As a reservist, Joel was called to active duty when the Fort Carson MP’s were called-up to serve overseas
after the 9/11 tragedy. Joel left UNC and served active duty as an MP at Fort Carson. He was honorably
discharged after serving 7 years (1999-2007). It’s my opinion, that Joel had every intention of joining
law enforcement, and making that his career, one of his best childhood friends became a Jeffco Sheriff;
he had a naïve view of a career in law enforcement. The hard, cold reality of being an MP on a military
base, dealing with domestic abuse, addictions, and depression it became clear this wasn’t the life or
career he wanted after all. In a way, I’m thankful for his service as an MP, he certainly had to grow up
in a big hurry - Joel went from Friday night fraternity parties to bullet-proof vests, carrying a Glock 9 and
arresting bad guys.




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When he left the Army, he wanted to follow in his father’s footsteps and pursue a career in the TV and
Entertainment business. Joel started a professional DJ business, operated that for 3-4 years, sold the
business and began his television engineering career.

Joel met his future wife Valerie while they were both attending UNC. Joel and Val were married in 2004,
their son Cooper was born in 2009.

Joel was employed, and held a high position for many years, by one of the largest, international
television production companies in the world. When he was required to report his plea agreement to
his employer, they promptly fired him. Joel was devastated. Since then, Joel has been actively seeking
freelance work in the business so as to provide income for his family. Joel and Val have sold their home,
sold their cars, downsized their life and paid down all their debt to enable Val, should she have to,
provide for herself and Cooper.

Your honor, I’m struggling for answers to explain my son’s behavior, and although Joel has taken
complete, no excuses, responsibility for his actions, he is active in counseling, is preparing his family for
a life he may not be a part of, both financially and spiritually, I still feel the need to offer an opinion as to
the causation of his behavior – maybe it’s the mom in me. I need to know.

Joel grew up in a upper middle-class home, is an only child and we constantly reinforced the ideal that
he had a superior intelligence, praised all of his achievements, and encouraged him that “he could do
anything, be anything he wanted”. I believe he felt bullet-proof, smarter than everyone else, arrogant.
He found the pornography titillating and the “game” of keeping a secret and eluding exposure and the
authorities was exhilarating. Simply, he thought he could get away with it.

When the FBI executed the Search warrant it scared him straight. He has given his word, and there’s no
evidence to suggest, that he has ever visited or had communication with the illegal sites or individuals in
the child porn industry since that fateful day seven years ago.

Joel is a good man. He works hard, loves his wife Valerie and his little boy Cooper. We have forgiven his
terrible behavior and we are working together to build a new life. I don’t believe he will ever forgive
himself and will spend the rest of his life trying to make up for putting his family through this terrible,
humiliating time.

Your honor, I humbly ask on behalf of our family, please do not discount the good in Joel and his sincere
efforts to take responsibility for his actions, better himself and his commitment to take care of his
family.

Punish the behavior if you must, but, please, please, don’t destroy the life. He’s worth fighting for and is
worthy of your reconsideration for leniency.

Thank you for your consideration.

Lynne Edwards-Thomas




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To Whom it may concern:

It is my privilege to provide a character reference for Joel Thomas. I have known Joel for almost 1 year
now. We met as leaders for Cub Scout Pack 1127 in Aurora, CO. As a Scout Leader I know Joel to be
reliable, creative, responsible, and an amazing role model to the kids. Joel and I have worked on several
projects and events together. I value his experience, insight, and ability to work in a group. I have seen
Joel volunteers his time, expertise, and resources on several occasions. He makes events run smoother
and brings a lot of excitement and fun to the events. Joel is always one of the first people I call when
facing a difficult project or decision.

As a friend and neighbor I have learned a lot from Joel. He is the first one to help a stuck UPS truck in
the snow, lend a helping hand to other neighbors, and include us in fun leisure activities. We have
enjoyed getting to know Joel and his family. He is a loving husband and father. Like Joel, I travel a lot
for work. I am constantly impressed how Joel balances personal time with his professional career. He is
a shining example of how to be an involved father and husband while balancing a busy work and travel
schedule.

I am honored to provide Joel with a positive character reference.

Best Regards,

Adam Luere
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                                                                               November 17, 2019

Dear Mr. Morales,

I am writing this letter on behalf of Joel Thomas. I first met Joel on September 18, 2019, when
he attended his first meeting of Sex Addicts Anonymous. After the meeting, Joel asked me if I
would be his sponsor, as he desired to continue pursuing recovery from sex addiction working
our Twelve-Step program. Sex Addicts Anonymous is a Fellowship of men and women seeking
recovery from compulsive sexual behaviors.

Joel was immediately engaged and began the process of working his First Step. This involves
admitting "we were powerless over compulsive sexual behaviors and our lives had become
unmanageable." It also involves inventorying examples of these challenges throughout our lives.
From our earliest memories until today. We call it "telling our story." We put pen to paper, and
write it all down, lest we forget something.

On October 31, 2019 shared his written First Step at our Highlands Ranch SAA meeting.
Fourteen men in our program were there to hear Joel's story and support him. He was honest,
open, and contrite. Most importantly, he was human. We are working together on Step Two.

I believe Joel takes full responsibility for his past mistakes, and the possible consequences
resulting from past decisions. I also believe that Joel is committed to a lifetime of recovery, and
being the best husband, father, brother and friend he is capable of being.

I am also willing to be a character witness at Joel's sentencing hearing in January, and be of
support to Joel in anyway I can. Thank you.

Yours,
Chris Gibley
Chairman
Colorado SAA Intergroup
303.807.3072




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December 23, 2019

To whom it may concern,

I am writing this letter in support of Joel. I know Joel through the organization Sex Addicts Anonymous. I
have completed the Colorado SOMB treatment program and through this program I have personal
knowledge of the how during the offense there is a disassociation between the pixels on the screen and
the reality of the effects on the individuals appearing there. Because of my experience Joel and I have
discussed in depth the shock of realizing one’s own contribution to the horrendous nature of the
victimization and perpetuation of the exploitation of children. He has told me how painful it is to realize
the true nature of the offense and how deeply remorseful and ashamed he feels. We have had many
discussions regarding the effects of the exploitation of children at the time of the offense, directly after
the offense and the long term effects on the lives of the victims; damage which cannot be undone no
matter how much one can wish it never happened. I have no doubt he fully understands and regrets the
nature of the offensive and destructive actions he perpetuated on his unknowing victims.

I trust and plead that the Court can look beyond his offense to the effects incarceration would have to
further the victimization of the innocents in his family. Separating him from them would only compound
the harm they have already experienced. He is greatly sorrowful about how his offense has already
affected them and the prospects for their future well-being.

I have no doubt Joel will adhere to any program the Court imposes upon him and he will be a
contributing member to society. He has already been active in SAA supporting others to deal with their
addictions and has been diligent on working the steps to further his own recovery.

With Respect,

Michael A Garza




                                                                                   EXHIBIT D.007
